Case 2:97-cr-20241-.]PI\/| Document 317 Filed 07/15/05 Page 1 of 3 Page|D 140
IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE mean jeff m

 

 

 

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UNITED s'rATEs oF AMERICA ) cR Nos.97--@7\_€9_§§4?:1.§/111 ",u COUR¥
) 97 zosssevti‘ H‘DH
Plaimiff, ) 97- 20236 Ml
) 97-20237-M1
vs ) 97-20238-M1
) 97-20239-M1
EDDre JETER ) 97_20240-M1
) 97-20241-1\/11 /
Defendant. )
0RDER To sURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau ofPrisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST 5,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Offlce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

EN_TERED this the 55 day ofJuly, 2005.

tom O.Qt

PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet in oompilance
with ante 55 ann/or 32{13) Fech on ' 'O$'

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerkaeputy Clerk Defeodant

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 317 in
case 2:97-CR-20241 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Carroll L. Andre

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Honorable J on McCalla
US DISTRICT COURT

